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 6
                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 8
     TRAVELERS PROPERTY CASUALTY COMPANY                         No. 2:22-cv-0589 RSM-BAT
 9   OF AMERICA, a foreign insurer,

10                                 Plaintiff,                     STIPULATED MOTION AND
            v.                                                    ORDER GRANTING
11                                                                DISMISSAL
     WALSH CONSTRUCTION COMPANY II, LLC, an
12   Illinois Limited Liability Company; and ARCH                NOTE ON MOTION
     SPECIALTY INSURANCE COMPANY, a foreign                      CALENDAR: July 25, 2024
13   insurer,

14                                 Defendants.

15   ______________________________________________

16   WALSH CONSTRUCTION COMPANY II, LLC, an
     Illinois Limited Liability Company,
17
                                Third Party Plaintiff,
18
          v.
19
     GREENWICH INSURANCE COMPANY, a foreign
20   insurer

21                              Third Party Defendant.

22
            Travelers Property Casualty Company of America (Travelers) and Walsh Construction
23
     Company II, LLC (Walsh) (hereinafter collectively referred to as “the releasing parties”) hereby

      STIPULATION AND ORDER OF
      DISMISSAL – 1
           Case 2:22-cv-00589-RSM-BAT Document 112 Filed 07/26/24 Page 2 of 3




 1   stipulate and agree that all claims between them may be dismissed pursuant to Fed. R. Civ. P.

 2   41(a)(1)(A)(ii).

 3          The releasing parties further stipulate and agree that the dismissal of all claims between

 4   them shall be with prejudice and without an award of fees or costs to any party.

 5
             DATED this 25th day of July 2024.
 6

 7    LETHER LAW GROUP                                FRIEDMAN RUBIN

 8
      /s/ Thomas Lether                                /s/Richard Dykstra___________________
      Thomas Lether, WSBA #18089                       Richard Dykstra, WSBA # 5114
 9
      /s/ N. Chance Laboda ______                      /s/ Alexander Ackel________________ __
      N. Chance Laboda, WSBA #54273                    Alexander Ackel, WSBA #52073
10    1848 Westlake Avenue N, Suite 100
      Seattle, WA 98109                                1109 First Avenue, Suite 501
11    P: (206) 467-5444/F: (206) 467-5544              Seattle, WA 98101
      tlether@letherlaw.com                            Phone (206) 501-4446
12    claboda@letherlaw.com                            Fax (206) 623-0794
      Counsel for Travelers Property Casualty          rdykstra@friedmanrubin.com
13    Company of America                               aackel@friedmanrubin.com
                                                       Counsel for Defendant Walsh Construction
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      STIPULATION AND ORDER OF
      DISMISSAL – 2
        Case 2:22-cv-00589-RSM-BAT Document 112 Filed 07/26/24 Page 3 of 3




 1                                          I.     ORDER

 2        Based on foregoing Stipulation, it is hereby ORDERED:

 3        1.     That Travelers’ claims against Walsh are hereby dismissed with prejudice;

 4        2.     That Walsh’s counterclaims against Travelers are hereby dismissed with
                 prejudice; and
 5
          3.     This dismissal is effectuated without an award of fees or costs to any party.
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 7        DATED this 26th day of July, 2024.

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                                                 A
                                                 RICARDO S. MARTINEZ
                                                 UNITED STATES DISTRICT JUDGE
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     STIPULATION AND ORDER OF
     DISMISSAL – 3
